                 Case 2:10-cv-08888-CJB-JCW Document 135937 Filed 08/08/13 Page 1 of 3

                                         IN RE: OIL SPILL by “Deepwater Horizon”
                                                    DIRECT FILING SHORT FORM 1
                            Authorized by Order of the Court, Civil Action No. 10 md 2179 Rec. Doc. 982
              (Copies of said Order having also been filed in Civil Actions No. 10-8888 and 10-2771)
MDL 2179                                                               SECTION: J                                                JUDGE CARL BARBIER
      CLAIM IN LIMITATION--JOINDER IN MASTER ANSWER--INTERVENTION AND JOINDER
               IN MASTER COMPLAINTS – PLAINTIFF/CLAIMANT PROFILE FORM
    By submitting this document, I am asserting a claim in Complaint and Petition of Triton Asset Leasing GmbH, et
    al., No. 10-2771; adopt and incorporate the Master Answer [Rec. Doc. 244] to the Complaint and Petition of Triton
    Asset Leasing Gmbh, et al., in No. 10-2771; and/or intervene into, join and otherwise adopt the Master Complaint
    [Rec. Doc. 879] for private economic losses (“B1 Bundle”) filed in MDL No. 2179 (10 md 2179); and/or intervene
    into, join and otherwise adopt the Master Complaint [Rec. Doc. 881] for post-explosion injuries (“B3 Bundle”)
    filed in MDL No. 2179 (10 md 2179).

    Last Name                                           First Name                                  Middle Name/Maiden                            Suffix
    Palmer                                             Doris                                       E.
    Phone Number                                                                    E-Mail Address
    214-521-3605                                                                   n/a
    Address                                                                         City / State / Zip
    19591 Aztec Street                                                             Sugarloaf Key, FL 33042
    INDIVIDUAL CLAIM                             ✔                                  BUSINESS CLAIM

    Employer Name                                                                   Business Name
    Doris E. Palmer
    Job Title / Description                                                         Type of Business
    Self Employed Web Developer
    Address                                                                         Address
    19591 Aztec Street
    City / State / Zip                                                              City / State / Zip
    Sugarloaf Key, FL 33042
    Last 4 digits of your Social Security Number                                    Last 4 digits of your Tax ID Number
    2825
    Attorney Name                                                                   Firm Name
    Scott Summy                                                                    Baron & Budd, P.C.
    Address                                                                         City / State / Zip
    3102 Oak Lawn Ave., Suite 1100                                                 Dallas, TX 75219
    Phone Number                                                                    E-Mail Address
    (214) 521-3605                                                                 ssummy@baronbudd.com
    Claim filed with BP?                                                            Claim Filed with GCCF?:         YES                   NO
                                     YES                   NO
    If yes, BP Claim No.: unknown                                                   If yes, Claimant Identification No.:
                                                                                                                           unknown
    Claim Type (Please check all that apply):
            Damage or destruction to real or personal property                                 Fear of Future Injury and/or Medical Monitoring
    ✔       Earnings/Profit Loss                                                               Loss of Subsistence use of Natural Resources
            Personal Injury/Death                                                              Removal and/or clean-up costs
                                                                                               Other: ___________________________________________




1
    This form should be filed with the U.S. District Court for the Eastern District of Louisiana in New Orleans, Louisiana in Civil Action No. 10‐8888. While this Direct
Filing Short Form is to be filed in CA No. 10‐8888, by prior order of the Court, (Rec. Doc. 246, C.A. No. 10‐2771 and Rec. Doc. 982 in MDL 2179), the filing of this form
in C.A. No. 10‐8888 shall be deemed to be simultaneously filed in C.A. 10‐2771 and MDL 2179. Plaintiff Liaison Counsel, after being notified electronically by the Clerk
of Court of the filing of this Short Form, shall promptly serve this form through the Lexis Nexis service system on Defense Liaison.
                                                                                      1

         The filing of this Direct Filing Short Form shall also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.
           Case 2:10-cv-08888-CJB-JCW Document 135937 Filed 08/08/13 Page 2 of 3


Brief Description:

1.   For earnings/profit loss, property damage and loss of subsistence use claims, describe the nature of the injury. For claims
     involving real estate/property, include the property location, type of property (residential/commercial), and whether physical
     damage occurred. For claims relating to fishing of any type, include the type and location of fishing grounds at issue.

Doris E. Palmer (Claimant) suffered a loss of earnings/profits due to the negative economic
impact on the Claimant's industry caused by the Oil Spill. Claimant files this Complaint seeking
a full recovery of all past and future losses, damages, and expenses related to the Oil Spill,
punitive damages, the expenses incurred to document its damages, and any and all other
damages owed to Claimant under the Oil Pollution Act (“OPA”), General Maritime Law, the
Clean Water Act, and all other state and federal laws applicable to this matter. Claimant
reserves the right to supplement and/or amend this response, including the calculation of
damages, as the case develops.




2.   For personal injury claims, describe the injury, how and when it was sustained, and identify all health care providers and
     employers 2008 to present and complete authorization forms for each.




3.   For post-explosion claims related to clean-up or removal, include your role in the clean-up activities, the name of your
     employer, and where you were working.




                                                                        2

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              Case 2:10-cv-08888-CJB-JCW Document 135937 Filed 08/08/13 Page 3 of 3

Please check the box(es) below that you think apply to you and your claims:
Non-governmental Economic Loss and Property Damage Claims (Bundle B1)
         1.     Commercial fisherman, shrimper, crabber, or oysterman, or the owner and operator of a business involving fishing, shrimping,
                crabbing or oystering.

         2.     Seafood processor, distributor, retail and seafood market, or restaurant owner and operator, or an employee thereof.

         3.     Recreational business owner, operator or worker, including a recreational fishing business, commercial guide service, or charter
                fishing business who earn their living through the use of the Gulf of Mexico.
     ✔   4.     Commercial business, business owner, operator or worker, including commercial divers, offshore oilfield service, repair and
                supply, real estate agents, and supply companies, or an employee thereof.

         5.     Recreational sport fishermen, recreational diver, beachgoer, or recreational boater.

         6.     Plant and dock worker, including commercial seafood plant worker, longshoreman, or ferry operator.

         7      Owner, lessor, or lessee of real property alleged to be damaged, harmed or impacted, physically or economically, including
                lessees of oyster beds.

         8.     Hotel owner and operator, vacation rental owner and agent, or all those who earn their living from the tourism industry.

         9.     Bank, financial institution, or retail business that suffered losses as a result of the spill.

         10.    Person who utilizes natural resources for subsistence.

         11. Other:

Post-Explosion Personal Injury, Medical Monitoring, and Property Damage Related to Cleanup (Bundle B3)
         1.     Boat captain or crew involved in the Vessels of Opportunity program.

         2.     Worker involved in decontaminating vessels that came into contact with oil and/or chemical dispersants.

         3.     Vessel captain or crew who was not involved in the Vessels of Opportunity program but who were exposed to harmful chemicals,
                odors and emissions during post-explosion clean-up activities.

         4.     Clean-up worker or beach personnel involved in clean-up activities along shorelines and intercoastal and intertidal zones.

         5.     Resident who lives or works in close proximity to coastal waters.

         6.     Other:



Both BP and the Gulf Coast Claims Facility (“GCCF”) are hereby authorized to release to the Defendants in MDL
2179 all information and documents submitted by above-named Plaintiff and information regarding the status of any
payment on the claim, subject to such information being treated as “Confidential Access Restricted” under the Order
Protecting Confidentiality (Pre-Trial Order No. 11), and subject to full copies of same being made available to both
the Plaintiff (or his attorney if applicable) filing this form and PSC through Plaintiff Liaison Counsel.


 Claimant or Attorney Signature

Scott Summy
 Print Name

August 8, 2013
 Date




                                                                             3

    The filing of this Direct Filing Short Form shall also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.
